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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 24-5050                                                 September Term, 2024
                                                                       1:18-cv-03074-CRC
                                                   Filed On: November 18, 2024 [2085324]
Yanping Chen,

              Appellee

       v.

Federal Bureau of Investigation, et al.,

              Appellees

Catherine Herridge,

              Appellant

       BEFORE:        Circuit Judges Katsas and Childs, and Senior Circuit Judge
                      Edwards


                   COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Monday, November 18, 2024 at
9:30 a.m. The cause was heard as case No. 3 of 3 and argued before the Court in both
public and closed sessions, by:

     Patrick F. Philbin, counsel for Appellant.
     Andrew C. Phillips, counsel for Appellee Yanping Chen.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Anne A. Rothenberger
                                                          Deputy Clerk
